                                                                          Case 2:19-cv-01602-JCM-EJY Document 109 Filed 07/08/22 Page 1 of 3




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                                                                   8
                                                                                                       UNITED STATES DISTRICT COURT
                                                                   9
                                                                                                               DISTRICT OF NEVADA
                                                                  10
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                                                                         UNITED STATES OF AMERICA, For the                     CASE NO. 2:19-cv-01602-JCM-EJY
                                                                         Use of Benefit of SOURCE HELICOPTERS,
                              HENDERSON, NEVADA 89014




                                                                  12     DIVISION OF ROGERS HELICOPTERS,
                                 TEL. (702) 458-5790




                                                                         INC., a California Corporation,
                                                                  13                                                           STIPULATION AND ORDER TO
                                                                                                 Plaintiff,                    EXTEND DEADLINE FOR JOINT
                                                                  14     vs.                                                   PRETRIAL ORDER
                                                                                                                               (THIRD REQUEST)
                                                                  15     SAYERS CONSTRUCTION, LLC, a Texas
                                                                         limited liability company; PHILADELPHIA
                                                                  16     INDEMNITY INSURANCE COMPANY, a
                                                                         Pennsylvania Corporation; and DOES I-V and
                                                                  17     ROE CORPORATIONS I-V,
                                                                  18                             Defendants.
                                                                  19

                                                                  20           Use-Plaintiff, Source Helicopters, Division of Rogers Helicopters, Inc. (“Plaintiff” or
                                                                  21   “Rogers”), and Defendants, Sayers Construction, LLC (“Sayers”) and Philadelphia Indemnity
                                                                  22   Insurance Company (“PIIC”), by and through their attorneys, hereby stipulate and request the Court
                                                                  23   extend the parties’ deadline to file the Joint Pretrial Order. In support of this stipulation and request,
                                                                  24   the following is provided, pursuant to LR IA 6-1:
                                                                  25           The deadline for filing the Joint Pretrial Order in this action is currently set for Wednesday,
                                                                  26   July 13, 2022. On April 11, 2022, the parties filed a stipulation to extend the pretrial order deadline
                                                                  27   from April 13, 2022, to May 11, 2022 [Dkt. #94], which the Court granted [Dkt. #95]. On the same
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                                                                          Case 2:19-cv-01602-JCM-EJY Document 109 Filed 07/08/22 Page 2 of 3




                                                                   1   day, PIIC filed its Motion for Reconsideration and Clarification of the Court’s Order on the parties’
                                                                   2   cross motions for summary judgment [Dkt. #93]. Rogers filed its response to PIIC’s Motion for
                                                                   3   Reconsideration on April 25, 2022 [Dkt. #96], and PIIC filed its reply is May 2, 2022 [Dkt. #98].
                                                                   4          On April 25, 2022, Rogers filed its own Motion for Reconsideration and for Clarification of
                                                                   5   the Court’s Order [Dkt. #97]. Sayers’s responded to Rogers’s Motion for Reconsideration on May 9,
                                                                   6   2022 [Dkt. #101]. PIIC responded to Rogers’ Motion for Reconsideration on May 9, 2022 [#120].
                                                                   7   Sayers filed its Reply to PIIC [Dkt. #102] and its Reply to Sayers [Dkt. #103] on May 16, 2022.
                                                                   8          Given the Motions for Reconsideration, the Parties stipulated, and the Court ordered that the
                                                                   9   Joint Pretrial Order is due 20 days after the court’s decision [Dkt. #100]. On June 22, 2022, the Court
                                                                  10   granted Rogers’ Motion for Reconsideration, and granted PIIC’s Motion to Clarify [Dkt. #105].
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                                                                       Based on the Parties’ Stipulation [Dkt. #100], twenty days after June 22, 2022 to file the Joint Pretrial
                              HENDERSON, NEVADA 89014




                                                                  12   Order is July 13, 2022.
                                 TEL. (702) 458-5790




                                                                  13          Counsel for PIIC, who will try the case, will be out of the country and state from July 6
                                                                  14   through July 18, 2022, for a previously scheduled European cruise with his parents (aged 91 and 89)
                                                                  15   and other family members, and a subsequent college reunion. This schedule results in an inability to
                                                                  16   fully comply with LR 16-3(b) which states that “the attorneys . . . who will try the case and who are
                                                                  17   authorized to make binding decisions must personally discuss settlement and prepare and file a
                                                                  18   proposed joint pretrial order . . . .” The schedule of PIIC’s Counsel will take away time from the
                                                                  19   adequate preparation of the Joint Pretrial Order and mandated settlement discussion. Moreover, the
                                                                  20   Court’s decisions on the motions for reconsideration substantially alter the scope of the issues to be
                                                                  21   addressed in the Joint Pretrial Order.
                                                                  22          Lead trial counsel for Sayers is specially set for trial in the U.S. District Court for the Eastern
                                                                  23   District of Texas on August 8, 2022. The trial is expected to last longer than a week. Other counsel for
                                                                  24   Sayers, who will be second chair at trial, will be out of the country from August 11 to August 21,
                                                                  25   2022, for a previously scheduled trip to Africa, including areas where Internet connectivity is not
                                                                  26   reliable. Additionally, counsel for Sayers has numerous depositions, hearings, and briefs, including an
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                                                                   1   appellate brief due in a matter pending in the Fifth Circuit Court of Appeals on August 4, 2022, that
                                                                   2   will not permit counsel for Sayers to comply with LR 16-3(b) by the current deadline.
                                                                   3          In consideration of the above, the parties submit good cause is present for their request for an
                                                                   4   extension of the current deadline for the Joint Pretrial Order. The parties propose the current July 13,
                                                                   5   2022 deadline for filing the Joint Pretrial Order shall be extended to August 29, 2022.
                                                                   6
                                                                        GRIFFITH BARBEE, PLLC                               THE FAUX LAW GROUP
                                                                   7
                                                                        By /s/ Maeghan Whitehead                            By /s/ Willi H. Siepmann
                                                                   8    Casey Griffith, Esq. (pro hac vice)                 Kurt C. Faux, Esq. (NSBN 3407)
                                                                        Michael Barbee, Esq. (pro hac vice)                 Willi H. Siepmann, Esq. (NSBN 2478)
                                                                   9
                                                                        Maeghan Whitehead, Esq. (pro hac vice)              Jordan F. Faux, Esq. (NSBN 12205)
                                                                  10    Dallas Flick, Esq. (pro hac vice pending)           2625 North Green Valley Parkway, #100
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                                                                  14    Email: Michael.barbee@griffithbarbee.com
                                                                        Email: maeghan.whitehead@grffithbarbee.com          Dated: July 8, 2022
                                                                  15    Email: dallas.flick@griffithbarbee.com
                                                                  16                                                        CLARK HILL PLLC
                                                                        Karl O. Riley (NSBN 12077)                          By /s/ D. Creighton Sebra
                                                                  17    Cozen O’Connor                                      D. Creighton Sebra, Esq (pro hac vice)
                                                                  18    3753 Howard Hughes Pkwy, Ste. 200                   1055 West Seventh Street, 24th Floor
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                                                                  20    Email: koriley@cozen.com                            Email: CSebra@ClarkHill.com
                                                                        Attorneys for Defendant Sayers Construction,
                                                                  21    LLC                                                 Bert Wuester Jr., Esq. (NSBN 5556)
                                                                  22    Dated: July 8, 2022                                 CLARK HILL PLLC
                                                                                                                            3800 Howard Hughes Parkway, Suite 500
                                                                  23                                                        Las Vegas, Nevada 89169
                                                                        IT IS SO ORDERED.                                   PH. (702) 862-8300; fax (702) 862-8400
                                                                  24
                                                                                                                            Email: bwuester@clarkhill.com
                                                                  25                                                        Attorneys for Use-Plaintiff
                                                                        ___________________________________
                                                                  26    U.S. MAGISTRATE JUDGE
                                                                                                                            Dated: July 8, 2022
                                                                  27    Dated: July 8, 2022
                                                                  28
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